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                           Exhibit 1
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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

 HAROLD STONE and JOHN WOESTMAN,   )
 for themselves and others similarly-situated, and
                                   )
 UNITED STEEL, PAPER AND FORESTRY, )
 RUBBER, MANUFACTURING, ENERGY,    )
 ALLIED INDUSTRIAL AND SERVICE     )
 WORKERS INTERNATIONAL UNION,      )                      No. 1:17-cv-05360
 AFL-CIO-CLC,                      )
                                   )                      Hon. John F. Kness
                       Plaintiffs, )
                                   )
       v.                          )
                                   )
 SIGNODE INDUSTRIAL GROUP LLC and )
 ILLINOIS TOOL WORKS INC.,         )
                                   )
                       Defendants. )


                   DECLARATION OF JOSEPH J. TORRES IN
        SUPPORT OF DEFENDANTS’ MOTION TO SET BRIEFING SCHEDULE
             ON PLAINTIFFS’ MOTION FOR RULE 16 CONFERENCE

                Joseph J. Torres hereby declares pursuant to 28 U.S.C. § 1746:

        1.      I am a partner at the law firm of Jenner & Block LLP. I am counsel of record for

Defendants in the above-captioned matter. I am a licensed member in good standing of the bar of

the State of Illinois.

        2.      On October 20, 2020, at 2:39 p.m., counsel for Plaintiffs e-mailed me, stating that

Plaintiffs planned to file a motion requesting that the Court hold a Rule 16 conference, and asking

whether Defendants would consent to the motion. If Defendants did not consent, Plaintiffs

proposed a briefing schedule.

        3.      Before I had a chance to confer with my client or respond to counsel’s inquiry,

Plaintiffs filed their motion.
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    I declare under penalty of perjury that the foregoing is true and correct.

           Executed on October 22, 2020


                                                            /s/ Joseph J. Torres
                                                          Joseph J. Torres
